        Case 17-35401-KRH                          Doc 13           Filed 11/10/17 Entered 11/10/17 12:00:04     Desc Main
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                                                   UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF VIRGINIA

                                                                    CHAPTER 13 PLAN
                                                                  AND RELATED MOTIONS
Name of Debtor(s):                  Felisha Rena Claiborne                                 Case No:   17-35401


This plan, dated          November 10, 2017               , is:

                                the first Chapter 13 plan filed in this case.
                                a modified Plan, which replaces the
                                  confirmed or unconfirmed Plan dated .

                                Date and Time of Modified Plan Confirming Hearing:

                                Place of Modified Plan Confirmation Hearing:


                      The Plan provisions modified by this filing are:


                      Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $1,162.00
          Total Non-Priority Unsecured Debt: $78,553.00
          Total Priority Debt: $8,502.00
          Total Secured Debt: $18,675.00




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $799.00 Monthly for 60 months. Other payments to
           the Trustee are as follows: NONE . The total amount to be paid into the plan is $ 47,940.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.          Administrative Claims under 11 U.S.C. § 1326.

                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                    disbursed except for funds returned to the debtor(s).
                       2.           Debtor(s)' attorney will be paid $ 4,561.00 balance due of the total fee of $ 5,150.00 concurrently
                                    with or prior to the payments to remaining creditors.

           B.          Claims under 11 U.S.C. §507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                       other priority creditors but concurrently with administrative claims above:

Creditor                                        Type of Priority                                   Estimated Claim         Payment and Term
City of Hopewell,Treasurer                      Taxes and certain other debts                              901.00                       Prorata
                                                                                                                                     13 months
Henrico Dept Public Utilities                   Commitments to maintain                                    401.00                       Prorata
                                                capital                                                                              13 months
Internal Revenue Service                        Taxes and certain other debts                              700.00                       Prorata
                                                                                                                                     13 months
VA DEPARTMENT OF                                Taxes and certain other debts                             6,500.00                      Prorata
TAXATION                                                                                                                             13 months

3.         Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
           Payments, and Payment of certain Secured Claims.

           A.          Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                       the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                       Court may grant the debtor(s)' motion to value collateral as set forth herein.


           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
           The following secured claims are to be "crammed down" to the following values:

       Creditor                                      Collateral                    Purchase Date      Est Debt Bal.      Replacement Value
-NONE-

           B.          Real or Personal Property to be Surrendered.

           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
           claims of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
           collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
           and the estate in the collateral.

Creditor                                               Collateral Description                        Estimated Value      Estimated Total Claim
-NONE-

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           C.          Adequate Protection Payments.

           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
           follows:

                                                                                                          Adeq. Protection
Creditor                                               Collateral Description                             Monthly Payment                  To Be Paid By
Auto Credit                                            auto loan/2012 Hyundai                                          25.00                        Trustee
Prime Drive                                            car loan/Jaquar                                                 25.00                        Trustee
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).

           D.          Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                       the Plan):

           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
           the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
           filed with and sustained by the Court.

                                                                               Approx. Bal. of Debt or      Interest
       Creditor                                 Collateral                    "Crammed Down" Value           Rate       Monthly Paymt & Est. Term**
Auto Credit                  auto loan/2012 Hyundai                                            9,570.00       5%                                Prorata
                                                                                                                                             41 months
Prime Drive                  car loan/Jaquar                                                  16,000.00       5%                                Prorata
                                                                                                                                             41 months

           E.          Other Debts.


           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.


4.         Unsecured Claims.

           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 2 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 0 %.

           B.          Separately classified unsecured claims.

Creditor                                                        Basis for Classification                                                Treatment
-NONE-




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5.         Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
           Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
           existing default under 11 U.S.C. § 1322(b)(5).

           A.          Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below
                       will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be
                       paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below, without
                       interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such interest is
                       provided for in the loan agreement.

                                                                                    Regular                Arrearage                     Monthly
                                                                                   Contract    Estimated    Interest  Estimated         Arrearage
Creditor                              Collateral                                   Payment     Arrearage     Rate    Cure Period         Payment
-NONE-

           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.

                                                                                    Regular                                              Monthly
                                                                                   Contract     Estimated Interest    Term for          Arrearage
Creditor                              Collateral                                   Payment      Arrearage Rate        Arrearage          Payment
-NONE-

           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:

                                                                                    Interest     Estimated
       Creditor                                    Collateral                        Rate         Claim        Monthly Paymt& Est. Term**
-NONE-


6.         Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts and
           leases listed below.

           A.          Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                  Type of Contract
Buddy's                                                    washer & dryer

           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                       indicated below.

                                                                                                                   Monthly
                                                                                                                   Payment             Estimated
Creditor                                   Type of Contract                                    Arrearage         for Arrears          Cure Period
-NONE-




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7.          Liens Which Debtor(s) Seek to Avoid.

            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                        written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                        creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                        hearing.

Creditor                                    Collateral                              Exemption Amount                        Value of Collateral
-NONE-

            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                        the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                        here is for information purposes only.

Creditor                                     Type of Lien                  Description of Collateral            Basis for Avoidance
-NONE-

8.          Treatment and Payment of Claims.

            •           All creditors must timely file a proof of claim to receive payment from the Trustee.
            •           If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                        object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                        Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                        for in this case, after the debtor(s) receive a discharge.
            •           If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                        creditor will be treated as unsecured for purposes of distribution under the Plan.
            •           The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
            modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.

10.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative
            total of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except
            upon approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to
            the extent required by the Local Rules of this Court.

11.         Other provisions of this plan:
            Notwithstanding the confirmation of this plan the debtor(s) reserve the right to challenge the allowance, validity, or
            enforceability of any claim in accordance with sect 502(b) and to challenge the standing of any party to assert any
            such claim.

            No adequate protection payments are to be paid to any creditor unless the Plan provides for the payment of adequate
            protection of such claim(s) through the Trustee in Section 3.C or directly by the Debtors in Section 5A., or unless the
            Court orders otherwise.

            All Student Loans will be paid directly by debtor and not through the Chapter 13 Plan




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Signatures:


Dated:       November 10, 2017


/s/ Felisha Rena Claiborne                                                                       /s/ Corine E.G. Bailey
Felisha Rena Claiborne                                                                           Corine E.G. Bailey
Debtor                                                                                           Debtor's Attorney


Exhibits:             Copy of Debtor(s)' Budget (Schedules I and J);
                      Matrix of Parties Served with Plan


                                                                       Certificate of Service
I certify that on      November 10, 2017               , I mailed a copy of the foregoing to the creditors and parties in interest on the attached
Service List.

                                                             /s/ Corine E.G. Bailey
                                                             Corine E.G. Bailey
                                                             Signature

                                                             116 N.Sycamore Street
                                                             P.O. Box 548
                                                             Petersburg, VA 23803
                                                             Address


                                                             Telephone No.



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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Felisha Rena Claiborne                                                                              Case No.   17-35401
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Auto Credit
           POB 57545
To:        Jacksonville, FL 32241
           Name of creditor

           auto loan/2012 Hyundai
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                       7 days before Confirmation
             Date and time of confirmation hearing:                                                   January 17, 2018 11:10 AM
             Place of confirmation hearing:                                 US. Bankruptcy Court 701 E. Broad Street Room 5000,
                                                                                                                  Richmond, VA

                                                                                         Felisha Rena Claiborne
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Corine E.G. Bailey
                                                                                         Corine E.G. Bailey
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Corine E.G. Bailey
                                                                                         Name of attorney for debtor(s)
                                                                                         116 N.Sycamore Street
                                                                                         P.O. Box 548
                                                                                         Petersburg, VA 23803
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #
                                                                                         Fax #




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                                                                   CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 10, 2017               .


                                                                                  /s/ Corine E.G. Bailey
                                                                                  Corine E.G. Bailey
                                                                                  Signature of attorney for debtor(s)



Ver. 09/17/09 [effective 12/01/09]




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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Felisha Rena Claiborne                                                                              Case No.   17-35401
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Prime Drive
           234 Jefferson Davis Hwy
To:        Richmond, VA 23224
           Name of creditor

           car loan/Jaquar
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                       7 days before Confirmation
             Date and time of confirmation hearing:                                                   January 17, 2018 11:10 AM
             Place of confirmation hearing:                                 US. Bankruptcy Court 701 E. Broad Street Room 5000,
                                                                                                                  Richmond, VA

                                                                                         Felisha Rena Claiborne
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Corine E.G. Bailey
                                                                                         Corine E.G. Bailey
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Corine E.G. Bailey
                                                                                         Name of attorney for debtor(s)
                                                                                         116 N.Sycamore Street
                                                                                         P.O. Box 548
                                                                                         Petersburg, VA 23803
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #
                                                                                         Fax #




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                                                                   CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 10, 2017               .


                                                                                 /s/ Corine E.G. Bailey
                                                                                 Corine E.G. Bailey
                                                                                 Signature of attorney for debtor(s)



Ver. 09/17/09 [effective 12/01/09]




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Fill in this information to identify your case:

Debtor 1                      Felisha Rena Claiborne

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               17-35401                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Registered Nurse
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Healthforce of VA, Inc

       Occupation may include student        Employer's address    4009 Fitzhugh Avenue
       or homemaker, if it applies.                                suite 201
                                                                   Richmond, VA 23230

                                             How long employed there?         1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         4,459.00        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,459.00               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Felisha Rena Claiborne                                                                Case number (if known)    17-35401


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,459.00       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        792.52       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.   Insurance                                                                      5e.        $          0.00       $               N/A
      5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.   Union dues                                                                     5g.        $          0.00       $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            792.52       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,666.48       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        350.00       $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00       $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                   N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
      8h. Other monthly income. Specify: 2017 pro rate tax refund                          8h.+ $              540.75 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            890.75       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,557.23 + $           N/A = $          4,557.23
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         4,557.23
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Felisha Rena Claiborne                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           17-35401
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Grandson                             6                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,600.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Felisha Rena Claiborne                                                                    Case number (if known)      17-35401

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 160.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  60.00
11.   Medical and dental expenses                                                            11. $                                                  60.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 120.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  500.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: personal property                                                             16. $                                                 120.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,745.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,745.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,557.23
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,745.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 812.23

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                        Aaron Furniture
                        1015 Cobb Place
                        Kennesaw, GA 30144


                        Alfa Systems
                        c/oI.C. Systems
                        PO box 64378
                        Saint Paul, MN 55164


                        Auto Credit
                        POB 57545
                        Jacksonville, FL 32241


                        Buddy's
                        2821 Williamsburg Road
                        Henrico, VA 23231


                        Captial One Auto Finance
                        3901 Dallas Pkwy
                        Plano, TX 75093


                        Century 21
                        1001 Boulevard
                        Colonial Heights, VA 23834


                        City of Hopewell,Treasurer
                        300 North Main Street #109
                        Hopewell, VA 23860


                        Credit One Bank
                        c/oLVNV Funding LLC
                        POB1047
                        Greenville, SC 29603


                        Directv
                        c/o Diversified
                        10550 Deerwood Pk Blvd
                        Jacksonville, FL 32256


                        Dominion Resource
                        c/o CCI
                        501 Green Street #302
                        Agusta, GA 92150
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                    Fedloan Servicing
                    PO Box 60610
                    Harrisburg, PA 17106


                    FIRST PREMIER BANK
                    601 S. MINNESOTA AVE
                    Sioux Falls, SD 57104


                    First Union Market Bank
                    1021 East Cary Street
                    Richmond, VA 23219


                    Henrico Dept Public Utilities
                    POB 90775
                    Henrico, VA 23273


                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101


                    John Randolph
                    c/ofocus recovery solution
                    411 W Randolph Road
                    Hopewell, VA 23860


                    Mariner Finance
                    12654 Jefferson Davis Highway
                    Chester, VA 23831


                    NAVIENT
                    P. O. Box 9532
                    Wilkes Barre, PA 18773-9532


                    NHCash
                    169 South River Road
                    #19
                    Bedford, NH 03110


                    Prime Drive
                    234 Jefferson Davis Hwy
                    Richmond, VA 23224
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                    Protect your Home
                    c/oHillcrestcol
                    715 Glendille Drive #4
                    Richardson, TX 75081


                    Richmond Community Hospital
                    c/oUnitye Consumer
                    14205 Telegraph Road
                    Woodbridge, VA 22192


                    Rivermont Landing
                    1530 Rivertree Drive
                    Chester, VA 23836


                    Sprint
                    c/oERC coll Agency
                    8014 Bayberry Road
                    Jacksonville, FL 32256


                    T-Mobile
                    c/oAmsher ollection Svcs
                    4524 Southlake Pkwy # 15
                    Birmingham, AL 35244


                    VA DEPARTMENT OF TAXATION
                    P.O. BOX 27407
                    Richmond, VA 23261


                    Verizon Wireless
                    798 Southpark Blvd
                    Suite 2
                    Colonial Heights, VA 23834


                    Wells Fargo Bank
                    20 Frnklin Street
                    Petersburg, VA 23803
